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EXPERT REPORT OF NICHOLAS P_JEWELL, Ph.D.

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Executive Summary of Report
i. Backonja et al.” report on the clinical efficacy of gabapentin on

subjective pain scores as compared to placebo, based on a randomized controlled clinical
trial of patients with diabetes mellitus suffering from painful diabetic neuropathy. These
authors consider a potential bias in their results due to the significantly higher incidence
of side effects among subjects exposed to gabapentin that might “unblind” an individual's
treatment assignment, thereby distorting their subsequent pain reports. However, the
authors did not find evidence of such a bias in a very simplistic analysis of two side
effects analyzed separately. I have reanalyzed their data more thoroughly. The summary
of my findings is that almost the entire apparent treatment effect reported in Backonja et
al.’ disappears when data after the occurrence of treatment-related Central Nervous
System (CNS) side effects is eliminated. I conclude that the trial provides no basis of any

clinical efficacy for gabapentin over placebo in reducing pain in this population.

Qualifications
2. For the past 27 years, 1 have been a Professor in the Division of

Biostatistics, School of Public Health, and in the Department of Statistics, both at the
University of California, Berkeley. Specifically, I have served as a Full Professor (1987 —
present); Associate Professor (1982 — 1987); and Assistant Professor (1981 ~ 1983).
Prior to that, I was an Assistant Professor in the Department of Statistics at Princeton
University, Princeton, New Jersey (1979 — 1981) where I also served as Director of the
Statistical Laboratories. At Berkeley, | also held the position of Chair of the University

Licey * . . . .
Gabapentin for the symptomatic treatment of painful neuropathy in patients

with diabetes mellitus. A Randomized Controlled Trial,” Backonja, M., Beydoun, A.,
Edwards, K.R. et al., JAMA, 1998, 280, 1831-1836.

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